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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


                                                     )
KATHEENA NEVIA SONEEYA, f/k/a                        )
Kenneth Hunt,                                        )
                                                     )
                        Plaintiff,                   )
                                                     )
v.                                                   )        Civil Action No. 07-12325-DPW
                                                     )
THOMAS A. TURCO III, in his official                 )
capacity as Commissioner of the                      )
Massachusetts Department of Correction,              )
                                                     )
                        Defendant.                   )
                                                     )

                              JOINT MOTION TO RESCHEDULE

         Counsel for Plaintiff Katheena Soneeya and for Defendant Thomas A. Turco III,

Commissioner of the Massachusetts Department of Correction (“DOC”), hereby submit a Joint

Motion to Reschedule the previously agreed upon schedule for a bench trial.

         The existing schedule calls for a bench trial on March 4, 2019, with opening briefs and

affidavits of direct testimony to be filed by January 11, 2019 and reply briefs and objections to

affidavits to be filed by January 28, 2019. After consultation with experts and witnesses on

availability, the parties propose the following amended schedule for the Court’s consideration:

        Bench trial the week of April 8, 2019;

        Opening briefs and affidavits of direct testimony to be filed by February 22, 2019; and

        Reply briefs and objections to affidavits to be filed by March 15, 2019.
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Respectfully submitted,

/s/ Nicole G. White                                  /s/ Jennifer M. Staples
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Dated: December 21, 2018




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


Dated: December 21, 2018                                                     /s/ Nicole G. White
                                                                             Nicole G. White




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